  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                           NORTH CAROLINA

_______________________________________
                                         )
BANK OF AMERICA CORPORATION              )
(fka NationsBank) and Subsidiaries,      )
as successor by merger to                )
BANKAMERICA CORPORATION                  )
and Subsidiaries, as successor by merger )
to FLEETBOSTON FINANCIAL                 )
CORPORATION and Subsidiaries as          )
successor by merger to BANKBOSTON        )
CORPORATION and Subsidiaries             )
and to SUMMIT BANCORP. and               )
Subsidiaries, as successor by merger to  )
MBNA CORPORATION and Subsidiaries, )
as successor by merger to                )
MERRILL LYNCH & CO., INC.                )
and Subsidiaries,                        )
                                         )
                                         )
                      Plaintiff,         )
                                         )          Case No. 3:17-cv-00546
v.                                       )
                                         )
THE UNITED STATES OF AMERICA,            )
                                         )
                      Defendant.         )
                                         )
______________________________________ )

                                  AMENDED COMPLAINT

       Plaintiff, Bank of America Corporation and Subsidiaries, formerly known as

"NationsBank" (hereinafter referred to as "Bank of America") on its own behalf and as successor

by merger to BankAmerica Corporation and Subsidiaries, FleetBoston Financial Corporation and

Subsidiaries ("Fleet"), BankBoston Corporation and Subsidiaries (“BankBoston”), Summit

Bancorp. and Subsidiaries ("Summit"), MBNA Corporation and Subsidiaries (“MBNA”), and

Merrill Lynch & Co., Inc. and Subsidiaries (“Merrill Lynch”), brings this action against the



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Defendant, the United States of America, seeking additional statutory interest and recovery of

overpaid underpayment interest arising under Internal Revenue Code ("I.R.C.") Sections 6601,

6611, and 6621. This suit is with respect to the following entities and taxable years:

   a) BankBoston tax years ended December 1993, December 1994, December 1998, and

       September 1999;

   b) Fleet tax years ended December 2000, December 2002, December 2003, and March

       2004;

   c) Merrill Lynch tax years ended December 1987, December 1988, December 1990,

       December 1991, December 1992, December 1993, December 1994, December 1995,

       December 1996, December 1997, December 1998, December 1999, December 2000,

       December 2001, December 2002, December 2003, December 2004, December 2005, and

       December 2006;

   d) Summit tax years ended December 1998, December 1999, and December 2000;

   e) MBNA tax years ended December 1997, December 1999, December 2001, December

       2002, December 2003, December 2004, and December 2005;

   f) Bank of America tax years ended December 1996, December 2000, December 2001,

       December 2002, December 2003, December 2004, December 2005, December 2006,

       December 2007, December 2008, and December 2009; and

   g) BankAmerica tax years ended December 1989, December 1991, December 1992,

       December 1993, December 1995, and December 1996.




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In support of its claim, Plaintiff alleges as follows:

       1.       Defendant has stated that it consents to the filing of an amended complaint by

plaintiff. Defendant has stated that, “[I]n so consenting, defendant is not waiving any defenses

that it may have to the claims stated in plaintiff’s original complaint or in plaintiff’s amended

complaint. In particular, defendant’s consent to the filing of an amended complaint is not a

concession that this Court has subject-matter jurisdiction over any of plaintiff’s claims, nor is it a

concession that this Court is the proper forum to hear any of plaintiff’s claims.”

       2.       Plaintiff hereby adopts all of the Complaint, including Exhibits, pursuant to Rule

10(c) of the Federal Rules of Civil Procedure.

       3.       Paragraph 36(a). Plaintiff alleges the following as paragraph 36(a):



            Plaintiff and Defendant are in the process of discussing and narrowing

            their differences with respect to the computations shown in Exhibit G.

            Plaintiff anticipates filing an additional amendment with updated

            computations (Exhibit G) shortly. In the meantime, Plaintiff states that

            Exhibit G should reflect that the statutes of limitations for allowable

            interest are open for the following overpayments: (1) for Merrill Lynch’s

            1987 tax year, the $15,412,889.49 overpayment refunded on May 30,

            2012, and (2) for Merrill Lynch’s 1990 tax year, the $241,202.77

            overpayment refunded on May 21, 2012. This may affect the calculations

            for individual years as well as the overall total amount to which Plaintiff is

            entitled.




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DATED: May 21, 2018                        Respectfully submitted,



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                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was mailed/ delivered to the
following individuals at the addresses listed:
Jason Bergmann:
U.S. Department of Justice, Tax Division
555 4th Street NW, Room 8120
Washington, DC 20001
Service was made electronically with ECF.
This the 21 day of May          , 20 18 .




                                       /s/ Hayden D. Brown
                                      Signature
                                       Hayden D. Brown
                                       (Print Name)

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